         Case 20-03195-sgj Doc 61 Filed 05/23/21 Entered 05/23/21 14:30:01 Page 1 of 8
            Case 3:21-cv-01174-S Document 1 Filed 05/23/21 Page 1 of 5 PageID 1
BTXN 138 (rev. 03/15)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Highland Capital Management, L.P. and CLO Holdco,           §
Ltd.                                                        §
                                                            §    Case No.: 19−34054−sgj11
                                      Debtor(s)             §    Chapter No.: 11
Official Committee of Unsecured Creditors                   §
                                      Plaintiff(s)          §    Adversary No.:      20−03195−sgj
      vs.                                                   §
CLO Holdco, Ltd. et al.                                     §    Civil Case No.:
                                      Defendant(s)          §
                                                            §
Official Committee of Unsecured Creditors                   §
                                      Plaintiff(s)          §
      vs.                                                   §
CLO Holdco, Ltd., et al.                                    §
                                      Defendant(s)          §
                                                            §


       NOTICE OF TRANSMITTAL REGARDING WITHDRAWAL OF REFERENCE
I am transmitting:

                One copy of the Motion to Withdraw Reference (USDC Civil Action No. − DNC Case) NOTE:
                A Status Conference has been set for 6/3/2021 at 9:30a.m., in via
                https://us−courts.webex.com/meet/jerniga before U.S. Bankruptcy Judge Stacy G. C. Jernigan .
                The movant/plaintiff, respondent/defendant or other affected parties are required to attend the
                Status Conference.
                One copy of: .

TO ALL ATTORNEYS: Fed.R.Bankr.P. 5011(a) A motion for withdrawal of a case or proceeding shall be heard by
a district judge, [implied] that any responses or related papers be filed likewise.



DATED: 5/17/21                                   FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/Sheniqua Whitaker, Deputy Clerk
         Case 20-03195-sgj Doc 61 Filed 05/23/21 Entered 05/23/21 14:30:01 Page 2 of 8
            Case 3:21-cv-01174-S Document 1 Filed 05/23/21 Page 2 of 5 PageID 2
BTXN 116 (rev. 07/08)
                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS




                         WITHDRAWAL OF REFERENCE SERVICE LIST
                                       Transmission of the Record
BK Case No.: 19−34054−sgj11

Adversary No.: 20−03195−sgj

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G. Jernigan
    Robert (Bob) Schaaf
    Nathan (Nate) Elner
    Attorney(s) for Appellant
    US Trustee




Plaintiff Official Committee of Unsecured Creditors

Paige Holden Montgomery
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Defendant CLO Holdco, Ltd. and Highland Dallas Foundation, Inc.

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Defendant Charitable DAF Holdco, Ltd. (Pro Se)

No contact information
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          Case 3:21-cv-01174-S Document 1 Filed 05/23/21 Page 3 of 5 PageID 3
Defendant Charitable DAF Fund, LP (Pro Se)

No contact information



Defendant The Dugaboy Investment Trust and The Get Good Nonexempt Trust

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Defendant Grant James Scott III

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Defendant James D. Dondero

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V.ORIGIN

 0   1 Original Proceeding
                                              Removed from State
                                              Court                             Remanded from Appellate Court             Reinstated or
                                                                                                                          Reopened
        Transferred from                      Multidistrict                     Appeal to District Judge from
 05     another district                      Litigation                        Magistrate Judgment


VI. CAUSE OF ACTION
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
423 Withdrawal 28 USC 157
Brief description of cause:
Motion to withdraw the reference


VII.REQUESTED IN COMPLAINT:

 □      CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                       DEMAND$
                                                                                                 CHECK YES only if demanded in complaint:
                                                                                                 JURYDEMAND:       0 Yes O         No

VIII.RELATED CASE(S) IF ANY                                                                    3:21-cv-01112-C   3:21-cv-01173-X
Judge:                                                                     Docket Number:

DATED: 5/17/21                                                FOR THE COURT:
                                                              Robert P. Colwell, Clerk of Court
                                                              by: /s/Sheniqua Whitaker, Deputy Clerk
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John Y. Bonds, III
TX 02589100 (Admitted Bankr. N.D. Tex.)
Roland P. Schafer
TX 24056271 (Admitted Bankr. N.D. Tex.)
Bryan C. Assink
TX 24089009 (Admitted Bankr. N.D. Tex.)
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BONDS ELLIS EPPICH SCHAFER JONES LLP
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ATTORNEYS FOR DEFENDANT JAMES DONDERO

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                         §
                                                §         Case No. 19-34054-sgj11
 HIGHLAND CAPITAL                               §
 MANAGEMENT, L.P.,                              §         Chapter 11
                                                §
          Debtor.                               §


 OFFICIAL COMMITTEE OF                          §
 UNSECURED CREDITORS,                           §
                                                §
          Plaintiff,                            §
                                                §          Adversary No. 20-03195
 vs.                                            §
                                                §
 CLO HOLDCO, LTD., CHARITABLE                   §
 DAF HOLDCO, LTD., CHARITABLE                   §
 DAF FUND, LP, HIGHLAND DALLAS                  §
 FOUNDATION, INC., THE DUGABOY                  §
 INVESTMENT TRUST, GRANT JAMES                  §
 SCOTT III IN HIS INDIVIDUAL                    §
 CAPACITY, AS TRUSTEE OF THE                    §
 DUGABOY INVESTMENT TRUST,                      §
 AND AS TRUSTEE OF THE GET                      §
 GOOD NONEXEMPT TRUST, AND                      §
 JAMES D. DONDERO,                              §
                                                §
          Defendants.                           §


DEFENDANT JAMES DONDERO’S MOTION TO WITHDRAW THE REFERENCE
& JOINDER IN SUPPORT OF OTHER DEFENDANTS’ MOTIONS TO WITHDRAW THE REFERENCE         PAGE 1
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                         RELIEF REQUESTED FROM DISTRICT COURT

                                         JURY TRIAL DEMANDED

    DEFENDANT JAMES DONDERO’S MOTION TO WITHDRAW THE REFERENCE
      AND JOINDER IN SUPPORT OF MOTIONS BY OTHER DEFENDANTS TO
                       WITHDRAW THE REFERENCE

         Defendant James Dondero (“Dondero”) files this Motion to Withdraw the Reference

(the “Motion”) and joins Defendants CLO Holdco, Ltd., Highland Dallas Foundation, Inc.,

The Dugaboy Investment Trust, and The Get Good Nonexempt Trust in their motions to do the

same. See Docket Nos. 24 & 33 (the “Other Motions”). This Motion incorporates by reference the

Other Motions and their attached briefs in support, which address the District Court’s jurisdiction,

the statutes and rules governing this Motion, and the history of this matter. Dondero respectfully

presents the following:

         The Bankruptcy Court does not have constitutional authority to enter a final judgment here

because the Plaintiff seeks money damages. Stern v. Marshall, 564 U.S. 462, 484 (2011).1

When a party is seeking a claim for money damages, the claim is “unquestionably legal,”

Dairy Queen, Inc. v. Wood, 369 U.S. 469, 476 (1962), such that “the constitutional right to trial

by jury cannot be made to depend upon the choice of words used in the pleadings.” Id. at 477-78.

Dondero has a 7th Amendment right to a jury trial and does not consent to the Bankruptcy Court

conducting a jury trial in this adversary proceeding. Dondero does not consent to the Bankruptcy


1
  “Article III could neither serve its purpose in the system of checks and balances nor preserve the integrity of
judicial decisionmaking if the other branches of the Federal Government could confer the Government's ‘judicial
Power’ on entities outside Article III. That is why we have long recognized that, in general, Congress may not
‘withdraw from judicial cognizance any matter which, from its nature, is the subject of a suit at the common law, or
in equity, or admiralty.’ When a suit is made of ‘the stuff of the traditional actions at common law tried by the courts
at Westminster in 1789,’ and is brought within the bounds of federal jurisdiction, the responsibility for deciding
that suit rests with Article III judges in Article III courts. The Constitution assigns that job--resolution of ‘the
mundane as well as the glamorous, matters of common law and statute as well as constitutional law, issues of fact as
well as issues of law’--to the Judiciary.” (bold emphasis added) (internal citations omitted).

DEFENDANT JAMES DONDERO’S MOTION TO WITHDRAW THE REFERENCE
& JOINDER IN SUPPORT OF OTHER DEFENDANTS’ MOTIONS TO WITHDRAW THE REFERENCE                                     PAGE 2
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Court entering final orders or judgments in this adversary proceeding. He has not waived his right

to a jury trial or to Article III adjudication, and for the reasons set forth in this Motion and the

Other Motions, Dondero asks that the reference of this adversary proceeding to the Bankruptcy

Court be withdrawn.



Dated: May 10, 2021                           Respectfully submitted,

                                              /s/ William R. Howell, Jr.
                                              John Y. Bonds, III
                                              TX 02589100 (Admitted Bankr. N.D. Tex.)
                                              Roland P. Schafer
                                              TX 24056271 (Admitted Bankr. N.D. Tex.)
                                              Bryan C. Assink
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                                              ATTORNEYS FOR DEFENDANT JAMES DONDERO




                                 CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify that on May 10, 2021, this document was filed
electronically via the Court’s CM/ECF system which automatically provides notice to registered
parties.

                                              /s/ William R. Howell, Jr.
                                              William R. Howell, Jr.



DEFENDANT JAMES DONDERO’S MOTION TO WITHDRAW THE REFERENCE
& JOINDER IN SUPPORT OF OTHER DEFENDANTS’ MOTIONS TO WITHDRAW THE REFERENCE                  PAGE 3
